        Case 20-20309-JAD Doc 31-1 Filed 03/01/21 Entered 03/01/21 12:25:47                  Desc
                         Final Decree: Notice Recipients Page 1 of 1
                                                  Notice Recipients
District/Off: 0315−2                      User: dkam              Date Created: 3/1/2021
Case: 20−20309−JAD                        Form ID: 129            Total: 4


Recipients of Notice of Electronic Filing:
tr          Charles O. Zebley, Jr.         COZ@Zeblaw.com
aty         Charles O. Zebley, Jr.         COZ@Zeblaw.com
aty         Charles O. Zebley, Jr.         COZ@Zeblaw.com
aty         Paula J. Cialella       paula@nypalaw.com
                                                                                           TOTAL: 4
